              Case 4:07-cv-05944-JST Document 3284 Filed 12/23/14 Page 1 of 4




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13   Sharp Electronics Manufacturing Company of America, Inc.

14
                                      UNITED STATES DISTRICT COURT
15

16                                 NORTHERN DISTRICT OF CALIFORNIA

17                                         SAN FRANCISCO DIVISION

18

19   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-5944 SC
     LITIGATION
20                                                              MDL No. 1917
     This Document Relates To:                                  SHARP’S ADMINISTRATIVE
21
                                                                MOTION TO FILE DOCUMENTS
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   RELATED TO SHARP’S
22   Case No. 13-cv-1173 SC;                                    OPPOSITION TO DEFENDANTS’
23                                                              MOTION FOR PARTIAL
     Sharp Electronics Corp., et al. v. Koninklijke             SUMMARY JUDGMENT ON
     Philips Elecs., N.V., et al., Case No. 13-cv-2776          STATUTE OF LIMITATIONS
24   SC.                                                        GROUNDS UNDER SEAL
25                                                              PURSUANT TO CIVIL LOCAL
                                                                RULES 7-11 AND 79-5(b), AND
26                                                              79-5(e)

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28

       SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
                                         CASE NO. 07-5944-SC; MDL NO. 1917
              Case 4:07-cv-05944-JST Document 3284 Filed 12/23/14 Page 2 of 4




 1           Pursuant to Civil Local Rules 7-11 and 79-5(b) and 79-5(e), Plaintiffs Sharp Electronics

 2   Corporation and Sharp Electronics Manufacturing Company of America, Inc. (collectively, “Sharp”)

 3   will, and hereby do, respectfully move this Court for leave to submit under seal portions of Sharp’s

 4   Opposition to Defendants’ Motion for Partial Summary Judgment on Statute of Limitations Grounds

 5   (“Sharp’s Opposition to MSJ re SOL”) , as well as Exhibits C-R and Exhibit T to the Declaration of

 6   Gary R. Carney in Support of Sharp’s Opposition to MSJ re SOL. In support of this request, Sharp

 7   submits the Declaration of Gary R. Carney and a [Proposed] Order in compliance with Local Rule 79-

 8   5(d).

 9           Specifically, the following exhibits and portions of Sharp’s Opposition to MSJ re SOL contain,

10   discuss, analyze, or directly reference information designated by other parties as “Confidential” or

11   “Highly Confidential” pursuant to the Protective Order entered in the above-captioned case:

12
                            DOCUMENT                             PAGE:LINE REF. OR EXHIBITS
13
             Sharp’s Opposition to MSJ re SOL               3:26 – 5:16
14                                                          13:24-28
                                                            14:7-13
15
             Declaration of Gary R. Carney in Support       Exhibits C-R and T
16           of Sharp’s Opposition to MSJ re SOL

17
             All of the information subject to this administrative motion to file under seal has been designated
18
     “Confidential” or “Highly Confidential” by defendants Hitachi Electronic Devices (USA); MT Picture
19
     Display Co., Ltd.; Panasonic Corporation; Samsung SDI; Toshiba America Electronic Components,
20
     Inc.; or Toshiba Corporation under the Stipulated Protective Order entered in this case. Sharp seeks to
21
     submit the above material under seal in good faith in order to comply with the Protective Order and this
22
     Court’s Local Rules.
23
                    Pursuant to the Local Rules (revised November 1, 2014), the party or parties designating
24
     the materials referenced above “must file a declaration as required by subsection 79-5(d)(1)(A)
25
     establishing that all of the designated material is sealable.” Civ. L.R. 79-5(e)(1). Sharp is prepared to
26
     file the documents referenced above that have been designated “Confidential” or “Highly Confidential”
27
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                                                          -1-
      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
                                          CASE NO. 07-5944-SC; MDL NO. 1917
             Case 4:07-cv-05944-JST Document 3284 Filed 12/23/14 Page 3 of 4




 1   by the Designating Parties in the public record “[i]f the Designating Party does not file a responsive

 2   declaration as required by subsection 79-5(e)(1) and the Administrative Motion to File Under Seal is

 3   denied.” Civ. L.R. 79-5(e)(2).

 4                  Sharp respectfully submits this administrative motion pursuant to the Protective Order

 5   and Civil Local Rule 79-5(d), and, through this submission, hereby notifies the Designating Parties

 6   listed above of their burden to establish that the designated material is properly sealable.

 7
     DATED: December 23, 2014               By: /s/ Craig A. Benson
 8
                                            Kenneth A. Gallo (pro hac vice)
 9                                          Joseph J. Simons (pro hac vice)
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                                            Attorneys for Plaintiffs Sharp Electronics Corporation and
20                                          Sharp Electronics Manufacturing Company of America,
                                            Inc.
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      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
                                          CASE NO. 07-5944-SC; MDL NO. 1917
             Case 4:07-cv-05944-JST Document 3284 Filed 12/23/14 Page 4 of 4




 1                                        CERTIFICATE OF SERVICE
 2                  On December 23, 2014, I caused a copy of Plaintiffs’ Administrative Motion to File
 3   Documents Related to Sharp’s Opposition to Defendants’ Motion for Partial Summary Judgment on
 4   Statute of Limitations Grounds Under Seal o be electronically filed via the Court’s Electronic Case

 5   Filing System, which constitutes service in this action pursuant to the Court’s order of September 29,

 6   2008. In addition, I caused true and correct complete copies of all documents referenced in this

 7   administrative sealing motion to be delivered to counsel for all parties by electronic mail, pursuant to

 8   Civil Local Rule 79-5(e).

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10
     DATED: December 23, 2014              By: /s/ Craig A. Benson
11                                              Craig A. Benson
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      PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E)
                                          CASE NO. 07-5944-SC; MDL NO. 1917
